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                                   APPEARANCE SHEET
                         FOR THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                HARRISONBURG DIVISION


UNITED STATES OF AMERICA                            Case No.: 5:20mj00036

v.                                                  Date: 8/7/20

Damanya Terelle Carter
                                                    Time in Court: 2:19-2:47=28 minutes
TYPE OF HEARING: Rule 5

**********************************************************************************
                               PARTIES/SPEAKERS:
1.    USMJ - Joel C. Hoppe                  6.    PO – Brittany Warren
2.    AUSA – Sean Welsh                     7.
3.    Dft – Carter                          8.
4.    Dft atty – Andrea Harris              9.    deputy clerk - Karen Dotson
5.                                          10.

**********************************************************************************
CD NO(S). ZOOM Recording            RECORDED BY: Karen Dotson

  Index    Spkr.     Index     Spkr.    Index   Spkr.    Index     Spkr.    Index     Spkr.
   No.                No.                No.              No.                No.
 2:19     1,9,1,2,            2
          1,4,1      41       1,4
 20       3,1,3,1    42       1
          3,1,3,1    43       6,1
 25       2                   9,1,
 26       1,2,1,3,   47       3,1,2,1
          1
 27       3,1,3,1
 28       4
 29       1,9
 38       1,4,1,3
          1
 40       3,1,2,1
